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14

15
                                IN THE UNITED STATES DISTRICT COURT
16
                                THE NORTHERN DISTRICT OF CALIFORNIA
17
                                      SAN FRANCISCO DIVISION
18

19 YELP INC.,                                       Case No. 3:23-cv-04977-TLT
20                 Plaintiff,                       YELP INC.’S STATEMENT OF RECENT
                                                    DECISION
21         v.
                                                    Date:    November 7, 2023
22 KEN PAXTON, ATTORNEY GENERAL                     Time:    9:00 AM
   OF THE STATE OF TEXAS,                           Dept.:   Courtroom 9
23 in his official capacity,

24                 Defendant.                       Action Filed: September 27, 2023
25

26

27

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                                                                          DAVIS WRIGHT TREMAINE LLP
                                                                          50 CALIFORNIA STREET, 23RD FLOOR
     YELP’S STATEMENT OF RECENT DECISION                                  SAN FRANCISCO, CALIFORNIA 94111
                                                                                   Tel: (415) 276-6500
     Case No. 3:23-cv-04977-TLT
 1         Pursuant to Local Civil Rule 7-3(d)(2), Plaintiff Yelp Inc. provides the attached

 2   supplemental authority, Netflix, Inc. v. Babin, No. 22-40786 (5th Cir.), which was decided

 3   December 18, 2023.

 4

 5    DATED: December 19, 2023                       DAVIS WRIGHT TREMAINE LLP
 6
                                                     By: /s/ Ambika Kumar
 7                                                           Ambika Kumar

 8                                                   Attorneys for Plaintiff YELP INC.

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                                                                                       Tel: (415) 276-6500
     Case No. 3:23-cv-04977-TLT
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              United States Court of Appeals
                   for the Fifth Circuit                                           United States Court of Appeals
                                                                                            Fifth Circuit
                                       ____________                                       FILED
                                                                                  December 18, 2023
                                        No. 22-40786
                                       ____________                                  Lyle W. Cayce
                                                                                          Clerk
   Netflix, Incorporated,

                                                                         Plaintiff—Appellee,

                                              versus

   Lucas Babin,

                                                Defendant—Appellant.
                       ______________________________

                      Appeal from the United States District Court
                           for the Eastern District of Texas
                                USDC No. 9:22-CV-31
                      ______________________________

   Before Wiener, Willett, and Douglas, Circuit Judges.
   Don R. Willett, Circuit Judge:
          Younger abstention is one of a handful of federalism-flavored
   carveouts to a federal court’s “virtually unflagging obligation”1 to exercise
   congressionally conferred jurisdiction. Out of respect for the legitimate
   interest of the state, and to avoid needless friction, federal courts may not
   interfere with an ongoing state criminal proceeding, so long as the defendant




          1
              Colo. River Water Cons. Dist. v. United States, 424 U.S. 800, 821 (1976).
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   being prosecuted has an adequate opportunity to raise constitutional
   challenges in the underlying state forum.
          A state has no legitimate interest, however, in a prosecution brought
   in bad faith or to harass. Nor, for that matter, does a defendant have an
   adequate opportunity to assert constitutional violations in the state
   proceeding when the prosecution itself is the constitutional violation. Thus,
   in exceptional cases in which a state prosecutor is credibly accused of bad
   faith and has no reasonable hope of obtaining a valid conviction against the
   defendant, comity-infused deference gives way, and a federal court may
   exercise its equitable power to enjoin the prosecution.
          In this case, a Texas state prosecutor, Lucas Babin, criminally charged
   Netflix for advertising and promoting child pornography based on its
   streaming of Cuties, a controversial film starring preteen girls who participate
   in a dance competition. Soon after Netflix asserted its First Amendment right
   to stream and promote Cuties, Babin multiplied the first indictment into four,
   selectively presented evidence to the grand jury, and inexplicably charged
   Netflix for a scene that involved a verifiably adult actress. Based on these and
   other allegations of bad faith, Netflix sought and successfully obtained a
   preliminary injunction against Babin and his prosecution. Babin now appeals,
   arguing that the district court clearly erred in finding bad faith and abused its
   discretion by declining to abstain under Younger.
          At this preliminary stage, and on the fact-intensive record before us,
   we cannot conclude that the district court erred. With the benefit of a seven-
   hour evidentiary hearing, including Babin’s own testimony, the district court
   was best positioned to make the largely credibility-based determination of bad
   faith. The findings underlying that determination, along with the inferences
   drawn from them, are not clearly erroneous, and they likely warranted
   injunctive relief under what we have historically understood to be—and




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   continue to recognize as—a narrow exception to Younger abstention. We
   accordingly AFFIRM.
                                         I
                                         A
          This federal lawsuit, and the parallel state criminal prosecution,
   follows Netflix’s decision to stream a French film called Cuties, a story about
   an eleven-year-old Senegalese girl named Amy who wants to perform at a
   dance competition with her friends. The film presents “an unflinching view”
   of Amy and her dance team (the “Cuties,” or “Mignonnes” in its native
   French) preparing for the competition, and the underlying storyline is about
   Amy attempting to navigate between the conservative culture of her devoutly
   Muslim family and the provocative culture of modern dance. As the district
   court explained, “Cuties depicts and explores various relationships . . . while
   vividly revealing to viewers the dangers and consequences of leaving children
   unrestrained from—and at the mercy of—the highly sexualized and media-
   driven culture in which they are now immersed.” In conveying that message,
   the film shows Amy and the Cuties attempting to mimic modern dance
   culture by performing public dance routines “while wearing cut-off tops and
   tight, short shorts.”
          There are no sex scenes in Cuties, to be sure, but two scenes in the
   film, among others, have received heightened scrutiny in this litigation. The
   first involves the main character, Amy, who is shown partaking in a “religious
   cleansing” in one of the film’s most dramatic moments—a “kind of
   baptism,” as the district court understood it. “In context,” Netflix
   emphasizes, “the scene symbolizes the inner conflict Amy is battling
   between her spiritual beliefs and societal influences,” but stripped of the
   symbolism and viewed in isolation, it simply shows “a young girl in
   underwear and a tank top, by herself, convulsing on the floor,” while her




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   “mother and auntie administer water on her body.” The second relevant
   scene is less significant but more explicit. “In [that] scene,” the district court
   recounted, “the Cuties are watching a video on one of their phones when a
   dancer in the video flashes her breast for a fraction of a second.” The district
   court determined that the briefly nude dancer in that scene, who the parties
   call “Jane Doe,” was over the age of eighteen at the time Cuties was filmed.
          Cuties, which was filmed in France in 2019, premiered a year later at
   the Sundance Film Festival in Utah, and Netflix began streaming Cuties to its
   subscribers nationwide in September 2020, during the throes of the
   COVID–19 pandemic. Perhaps predictably, the reviews of Cuties were
   mixed. As Netflix frames it, “Cuties’ public reception was not entirely
   positive.” Indeed, some were downright repulsed by what they saw.
   Criticism flared when at least three members of Congress expressed their
   senatorial scorn for the film, one of whom took the additional step of referring
   the film via 𝕏 (formerly Twitter) to the Department of Justice.
          Among the number displeased and disgusted by Cuties is the
   defendant in this case, Lucas Babin, a former actor himself but now the
   district attorney of Tyler County, Texas. Believing that some scenes in Cuties
   amounted to “obscenity,” Babin sought, and a grand jury returned, an
   indictment charging Netflix with the “promotion of lewd visual material
   depicting [a] child” under § 43.262 of the Texas Penal Code. Babin obtained
   the indictments just two weeks after Cuties debuted on Netflix, becoming the
   first—and so far, the only—prosecutor in America to criminally charge
   Netflix for the film. Babin embraced the novelty, though, and candidly
   expressed his motivation for seeking the charge in a press release he later
   issued on his webpage:
          After hearing about the movie Cuties and watching it, I knew
          there was probable cause to believe it was criminal under
          Section 43.262 of the Texas Penal Code. The legislators of this




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          state believe promoting certain lewd material of children has
          destructive consequences. If such material is distributed on a
          grand scale, isn’t the need to prosecute more, not less? A grand
          jury in Tyler [C]ounty found probable cause for this felony, and
          my job is to uphold the laws of this State and see that justice is
          done.

          According to his press release (and later, his testimony), Babin
   watched the entire film before seeking criminal charges. But the same cannot
   be said of the grand jury. With the help of “screen-recording software,”
   Babin admitted that he showed the grand jury only curated clips and images
   of Cuties, singling out some of the most provocative scenes, including the one
   of Amy undergoing her moment of partially clad “spiritual cleansing.” Based
   on this selective presentation of the evidence, the grand jury found probable
   cause to charge Netflix under § 43.262 of the Texas Penal Code.
          Netflix is quick to point out that, upon receipt of the indictment, it
   “did not run to federal court for protection,” but instead prepared to defend
   itself in state court. To that end, Netflix arranged a meeting with Babin and
   his first assistant, Pat “Hawk” Hardy, to discuss the indictment. During that
   October 2020 meeting, Netflix asked Babin and Hardy what “specifically
   prompted the indictment,” adding that if the problematic portion of the film
   was the exposed breast, Netflix would be willing to share proof that the
   actress was over eighteen years old. Babin and Hardy declined, expressing no
   need to look at the proof and instead emphasizing that the “gravamen” of
   the indictment was the “suggestive way” in which the younger girls danced.
   On that point, the parties amicably disagreed about the legality of the scenes
   involving those girls and went their separate ways.
          Unsurprisingly, Netflix pleaded not guilty to the charge a couple of
   weeks later and waived its right to an arraignment. But perhaps more
   surprisingly, Netflix’s plea did not set in motion the usual prosecutorial




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   process—at least not immediately. For the next year, the case sat idle. No
   motions, no hearings, no discovery. Babin says this was partly due to
   COVID-related delays, and both parties suggest that the other is to blame
   for the inaction. Whatever the reason, the lull ended in October 2021, when
   the First Court of Appeals of Texas held in an unrelated case that § 43.262
   of the Texas Penal Code (the statute under which Babin charged Netflix) was
   facially unconstitutional under the First Amendment.2 And, coincidentally,
   in its discussion of the statute’s overly broad scope, the First Court of
   Appeals noted that “at least one prosecutor [i.e., Babin] has indicted Netflix
   for showing” Cuties and that, as written, “the statute could apply not only to
   Netflix, but to those persons who viewed the offending visual material.”3
           Dutifully, Netflix provided Babin a copy of the Lowry opinion the day
   it was decided, “reminding [him] that his obligations to enforce the State’s
   laws ‘extend[ed] only to constitutional laws,’” and urging him to drop the
   charge. Babin refused. So, with the charge still pending, Netflix filed a pretrial
   writ of habeas corpus, arguing that the indictment should be dismissed given
   the facial unconstitutionality of § 43.262. After some back-and-forth about
   scheduling and statutory deadlines, Netflix and Babin finally agreed to
   schedule a hearing on Netflix’s habeas petition a few months out, in March
   2022.
           According to Netflix, Babin used those few months before the hearing
   on the habeas petition to empanel another grand jury and seek four new
   indictments under § 43.25(d) of the Texas Penal Code, a narrower but more
   severe criminal statute that prohibits the promotion of “sexual conduct by a
   child younger than 18 years of age.” “Consistent with [that] plan,” Netflix

           2
               Ex parte Lowry, 639 S.W.3d 151, 169 (Tex. App.—Houston [1st Dist.] 2021, pet.
   granted).
           3
               Id.




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   says, “Babin convened [a] second grand jury on February 25, 2022,” and
   “[o]nce again, rather than provide the grand jury with the actual film, Babin
   restricted the grand jury’s view to only those scenes and stills that he [had]
   personally curated and stripped of their proper context.” Babin, for his part,
   denies that he ever had such a “plan” or that he even has the power to
   “convene” a grand jury. Nevertheless, just two days before the scheduled
   hearing on Netflix’s habeas petition, Babin emailed Netflix to say that he was
   dropping the charge under § 43.262 and that a hearing on the habeas petition
   was no longer needed. But, he added, “[s]eparate indictments will be served
   on [your] registered agent within the next few days. Wanted to give you a
   heads-up.”
           As promised, Babin dismissed the first indictment (albeit without
   prejudice) the next day and issued four new indictments under § 43.25. Each
   of the four new indictments concerned a different actress in the film: three
   concerned different (clothed) minor girls and their dances, and the fourth
   concerned the adult actress whose breast was exposed—notably, a scene that
   Babin had previously assured Netflix was not within the “gravamen” of the
   original indictment and for which Babin declined to see proof of the actress’s
   age.
                                                B
           Rather than attempt to defend itself against the four new indictments
   in state court as it had attempted with the first,4 Netflix instead pursued relief
   in federal court. To that end, it filed suit in the Eastern District of Texas
   under 42 U.S.C. § 1983, seeking an injunction against Babin “from pursuing

           4
             Netflix explains that filing a pretrial writ of habeas corpus against the four new
   indictments, as it had done with the first, was not an option because it had conceded in its
   initial habeas petition that § 43.25 was facially constitutional, and Texas law does not
   permit as-applied constitutional challenges in pretrial habeas petitions. See Ex parte Ellis,
   309 S.W.3d 71, 79 (Tex. Crim. App. 2010).




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   any pending indictment against Netflix or seeking to reindict Netflix for any
   charge related to Cuties.” Barely a month later, Babin moved for summary
   judgment, contending that Netflix’s request for injunctive relief with respect
   to the original indictment filed under § 43.262 was moot because he had
   dismissed it and had also adopted a “policy precluding any Tyler County
   prosecution under” that section “unless and until constitutional concerns,
   including those raised by Netflix, are resolved.” He additionally argued, as
   he does now on appeal, that the district court should decline to exercise its
   jurisdiction under Younger.
          In response to Babin’s motion for summary judgment, Netflix filed an
   emergency motion to obtain grand-jury discovery, arguing that the discovery
   was necessary because Babin was pointing to the grand jury as an
   “independent intermediary” that substantiated his belief that Cuties was
   indeed child pornography. The district court agreed, granted the motion, and
   ordered Babin to produce the discovery for in camera review. Babin then
   petitioned for mandamus, asking us to direct the district court to withdraw
   the discovery order. In a per curiam opinion, a different panel of this court
   denied Babin’s mandamus petition but directed the district court to address
   Younger abstention “at the earliest opportunity.”5
          Two months later, the district court did just that. After a seven-hour
   evidentiary hearing, in which Babin himself testified, the district court issued
   a detailed, 24-page order finding that he had acted in bad faith and that
   Younger therefore did not apply. It accordingly enjoined Babin “from
   prosecuting or otherwise pursuing the [four new indictments] against Netflix
   or from seeking to reindict Netflix under § 43.262 of the Texas Penal Code
   in connection with the motion picture Cuties.” Babin appealed.

          5
             In re Babin, No. 22-40306, 2022 WL 1658701, at **3–6 (5th Cir. May 25, 2022)
   (per curiam).




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                                                    II
             We first address, as the district court did, an issue concerning our
   subject-matter jurisdiction.6 Babin argues that Netflix’s request for
   injunctive relief with respect to the first indictment under § 43.262 is moot
   because he (1) dismissed that indictment, and (2) issued a policy precluding
   any Tyler County prosecution under § 43.262. The district court determined
   that neither of these two facts mooted Netflix’s request for relief. Reviewing
   that determination de novo,7 we agree.
             Babin’s proffered reasons for mootness fall under the category of
   voluntary cessation—a familiar but “stringent”8 exception to the mootness
   doctrine that we view with a “critical eye.”9 That is because the defendant
   claiming that his voluntary cessation moots a claim “bears the formidable
   burden of showing that it is absolutely clear the allegedly wrongful behavior
   could not reasonably be expected to recur.”10 As applied here, Babin must
   show that it is “absolutely clear” that Netflix’s prosecution in Tyler County
   under § 43.262 for its promotion and streaming of Cuties could not
   reasonably be expected to recur in light of his dismissal of the first indictment
   and his new non-prosecution policy.
             Babin has not carried that “formidable burden” here. He dismissed
   the first indictment without prejudice, so he is free to pursue the charges

             6
              See Pervasive Software Inc. v. Lexware GmbH & Co., 688 F.3d 214, 231 (5th Cir.
   2012) (“The requirement that jurisdiction be established as a threshold matter . . . is
   inflexible and without exception.” (alteration in original) (quoting Ruhrgas AG v. Marathon
   Oil Co., 526 U.S. 574, 577 (1999)).
             7
                 Moore v. Hosemann, 591 F.3d 741, 744 (5th Cir. 2009).
             8
                  Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 190
   (2000).
             9
                 Knox v. SEIU, 567 U.S. 298, 307 (2012).
             10
                  Laidlaw, 528 U.S. at 190.




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   under § 43.262 against Netflix again. And that re-prosecution remains a real
   possibility even in light of Babin’s newly issued “policy.” As the district
   court noted, Babin’s policy is expressly contingent on, among other
   possibilities, judicial resolution of § 43.262’s constitutionality—an issue
   that, to date, has not been definitively resolved by either of Texas’s two high
   courts.11 Such contingencies do not provide us the absolute clarity we would
   need to dismiss on mootness grounds.
           True, we have said before that voluntary cessation by a governmental
   official like Babin is given “some solicitude.”12 But the presumption of good-
   faith cessation is defeated when, as here, there is no controlling statement of
   future intention, the change in conduct is suspiciously timed, and the


           11
             We note that the Texas Court of Criminal Appeals granted the petition for review
   in Lowry on March 2, 2022, and held argument on October 5, 2022. The parties have not
   notified us of any further developments in that case, and we have not seen any material
   updates in the docket on the court’s webpage. The fact that the Lowry decision remains
   pending, however, does not further complicate our abstention analysis. In material
   respects, § 43.262 parallels the U.S. Supreme Court’s decision in Miller v. California, 413
   U.S. 15 (1973), and Babin’s occasional references to Pullman abstention are unavailing
   when state law mirrors federal law. See Haw. Hous. Auth. v. Midkiff, 467 U.S. 229, 237 n.4
   (1984).
           12
             Sossamon v. Lone Star State of Tex., 560 F.3d 316, 325 (5th Cir. 2009). The district
   court concluded that our precedent affording government officials “some solicitude” for
   their voluntary cessation is “irreconcilable with recent Supreme Court precedent.” See
   West Virginia v. EPA, 142 S. Ct. 2587, 2607 (2022) (holding the government defendant to
   the “heavy” burden of showing mootness based on “voluntary conduct”). If we
   determine, as a panel, that Supreme Court precedent “implicitly overrules” Fifth Circuit
   precedent, we may overrule it ourselves. See In re Bonvillian Marine Serv., Inc., 19 F.4th
   787, 792 (5th Cir. 2021). We need not make that weighty determination here, however,
   because we think solicitude is unwarranted for different reasons, as explained above. We
   will merely make the related and additional point, perhaps for the benefit of a future panel
   or en banc court, that the “special solicitude” once afforded to states under Massachusetts
   v. EPA, 549 U.S. 497, 520 (2007), with respect to justiciability doctrines like standing,
   seems to also be falling out of favor with the Supreme Court. See William Baude & Samuel
   L. Bray, Proper Parties, Proper Relief, 137 Harv. L. Rev. 153, 174–77 (2023).




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   defendant continues to defend the challenged behavior.13 Babin’s policy (as
   we have already noted) says little about his future intention, he issued the
   policy shortly after this federal litigation began, and he continues to defend
   the constitutionality of § 43.262. For these reasons, Babin cannot carry his
   heavy burden of showing mootness. Besides, the solicitude ordinarily
   afforded to government officials like Babin is premised on a “presumption of
   good faith,”14 which is precisely the presumption being questioned here.
                                                  III
           Just as we must ensure the existence of our subject-matter
   jurisdiction, we must also ensure that exercising it does not offend principles
   of “Our Federalism.”15 Fidelity to at least one of those principles, as
   articulated in the canonical case of Younger v. Harris,16 often requires us to
   abstain from interfering with a pending state criminal proceeding, even when
   it implicates a defendant’s federal constitutional rights.17 As the Supreme
   Court recently observed, “many federal constitutional rights are as a
   practical matter asserted typically as defenses to state-law claims.”18 So, to
   reverse that posture19 by asking a federal court to exercise its extraordinary

           13
                Speech First, Inc. v. Fenves, 979 F.3d 319, 328 (5th Cir. 2020).
           14
                Sossamon, 560 F.3d at 325.
           15
                401 U.S. 37, 41 (1971).
           16
                Id. at 43–45.
           17
                Bice v. La., Pub. Def. Bd., 677 F.3d 712, 720 (5th Cir. 2012).
           18
              Whole Women’s Health v. Jackson, 595 U.S. 30, 49–50 (2021); see also Kugler v.
   Helfant, 421 U.S. 117, 124 (1975) (“The policy of equitable restraint expressed in Younger
   v. Harris, in short, is founded on the premise that ordinarily a pending state prosecution
   provides the accused a fair and sufficient opportunity for vindication of federal
   constitutional rights.”).
           19
             Compare John Harrison, Ex parte Young, 60 Stan. L. Rev. 989, 990 (2008)
   (“Through an anti-suit injunction a party who would be the defendant in a corresponding
   lawsuit can enforce in equity a legal position that would be a defense at law.”), with James




                                                   11
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   equitable powers amidst an ongoing state proceeding, the plaintiff must come
   with equally extraordinary allegations.20
           Allegations of “bad faith and harassment,” the Supreme Court has
   said, can usually fit the bill.21 While states certainly have a legitimate interest
   in the enforcement of their criminal laws, they have no such interest when
   the enforcement of those laws is carried out in bad faith. “With respect to the
   interests of the State,” we have said, “it by definition does not have any
   legitimate interest in pursuing a bad faith prosecution brought to retaliate for
   or deter the exercise of constitutionally protected rights.”22 Comity, the
   notion that largely undergirds the relational jurisprudence between state and
   federal courts, gives way once good faith does. As we put it decades ago, if
   the “state’s legal machinery is being used in bad faith,” relying “upon comity
   is to beg the question.”23
           That said, we are never eager to find bad faith, particularly of public
   servants.24 The Supreme Court has recognized the “longstanding



   E. Pfander & Jacob P. Wentzel, The Common Law Origins of Ex parte Young, 72 Stan. L.
   Rev. 1269, 1333 (2020) (“[O]ne can best understand Ex parte Young’s assertion of equity
   power as the outgrowth of a centuries-old common law tradition of judicial control of
   administrative action . . . .”).
           20
              See Hicks v. Miranda, 422 U.S. 332, 350 (1975) (“Unless we are to trivialize the
   principles of Younger v. Harris, the federal complaint should have been dismissed on the
   appellant’s motion absent satisfactory proof of those extraordinary circumstances calling
   into play one of the limited exceptions to the rule of Younger v. Harris and related cases.”).
   Cf. Owen M. Fiss, Dombrowski, 86 Yale L.J. 1103, 1103 (1977) (“[Dombrowski]
   promised—in its own special way—a new era for the federal injunction.”).
           21
                Younger, 401 U.S. at 53–54.
           22
                Wilson v. Thompson, 593 F.2d 1375, 1383 (5th Cir. 1979).
           23
                Sheridan v. Garrison, 415 F.2d 699, 707 (5th Cir. 1969).
           24
            See Dombrowski v. Pfister, 380 U.S. 479, 484–85 (1965) (“It is generally to be
   assumed that state courts and prosecutors will observe constitutional limitations . . . .”).




                                                   12
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   presumption of regularity accorded to prosecutorial decisionmaking,”25 and
   has similarly observed that “the Government retains broad discretion as to
   whom to prosecute.”26 Consistent with those principles, we have made clear
   that “the ‘bad faith’ exception [to Younger abstention] is narrow and should
   be granted parsimoniously.”27 Thus, a plaintiff seeking to short-circuit the
   usual prosecutorial process by invoking the protection of a federal court
   “may overcome the presumption of abstention” by showing “proven
   harassment” or that the “prosecutions [were] undertaken by state officials
   in bad faith without hope of obtaining a valid conviction.”28
           In this case, Netflix alleges that Babin acted in bad faith because (1) he
   retaliated by seeking four new indictments for Netflix’s decision to file a
   pretrial writ of habeas corpus, and (2) he has no hope of obtaining a valid
   conviction against Netflix under either § 43.262 or § 43.25 of the Texas Penal
   Code. Babin rejects each of these allegations and counters that, even if they
   were true, the grand jury—as an independent intermediary—found probable
   cause to indict Netflix and thus broke the chain of causation. We address the
   district court’s findings and conclusions regarding bad faith and causality in
   turn.
                                                  A
           The district court found that Babin prosecuted Netflix in bad faith—
   a finding of fact that followed discovery and a seven-hour evidentiary hearing
   at which Babin testified. Babin contends on appeal that the district court’s

           25
                Hartman v. Moore, 547 U.S. 250, 263 (2006).
           26
              Wayte v. United States, 470 U.S. 598, 607 (1985) (internal quotation marks and
   citation omitted).
           27
                Hefner v. Alexander, 779 F.2d 277, 280 (5th Cir. 1985).
           28
             Nobby Lobby, Inc. v. City of Dallas, 970 F.2d 82, 87 (5th Cir. 1992) (quoting Perez
   v. Ladesma, 401 U.S. 82, 85 (1971)).




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   finding in this respect was not only erroneous but clearly so—a contention,
   we are mindful, that must also surmount considerable deference to the
   district court’s credibility determinations.29 After carefully reviewing the
   record and the parties’ arguments at this preliminary stage in the
   proceedings, we are not left “with the definite and firm conviction that a
   mistake has been committed.”30 To the contrary, sufficient evidence
   supports the district court’s findings.
           We begin by noting the temporal element overlaying the criminal
   prosecution of Netflix. After Babin initially charged Netflix and issued a press
   release about the unprecedented prosecution, the case sat idle for a year.
   There is no evidence of any effort to move the case along. Then, shortly after
   Netflix filed its habeas petition, there was a burst of prosecutorial alacrity.
   The four new indictments Babin successfully obtained following Netflix’s
   habeas petition stand in sharp contrast to the relative quietude that Netflix
   enjoyed after the first indictment was filed. The inflection point—Netflix’s
   assertion of its First Amendment rights—is difficult to overlook. In its
   briefing, Netflix puts the timing in perspective: Babin waited more than 400
   days from the date of the first indictment to multiply the proceedings under
   a more severe statute—a lull that abruptly ended after Netflix petitioned for




           29
               Anderson v. City of Bessemer, 470 U.S. 564, 573 (1985); see also Guzman v.
   Hacienda Records and Recording Studio, Inc., 808 F.3d 1031, 1036 (5th Cir. 2015) (“[T]he
   clearly erroneous standard of review . . . requires even ‘greater deference to the trial court’s
   findings when they are based on determinations of credibility.’” (quoting Anderson, 470
   U.S. at 574)). In addition to arguing that the district court’s findings are clearly erroneous,
   Babin suggests a couple times in his briefing, without further explanation, that the “clearly
   erroneous” standard of review may not even apply to the district court’s findings. The basis
   for that contention, however, is not apparent to us, and we can think of no reason ourselves
   to depart from this settled standard of review.
           30
                Clark v. Mobile Oil Corp., 693 F.2d 500, 502 (5th Cir. 1982) (per curiam).




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   relief. We can begin, then, to trace the abozzo of retaliation from the timeline
   alone.31
          It is true, of course, that innocuous reasons could just as well explain
   the timing of the indictments. After all, Babin initiated the criminal
   proceedings against Netflix at the height of the COVID-19 pandemic, and
   we do not pretend to know the demands of the Tyler County criminal docket.
   Nor, by the same token, do we suggest that animus inevitably underlies any
   prosecution that does not follow the standard course. But in light of Netflix’s
   other allegations, one could reasonably make a more unfavorable inference
   from the atypical timeline, as the district court did and was well within its
   discretion to do.32
          The Lowry decision issued by the Texas First Court of Appeals
   provides some insight. On the one hand, Babin testified that Lowry—again,
   which declared § 43.262 facially unconstitutional—had no influence on his
   decision to drop the initial indictment and seek the four new ones against
   Netflix under a different statute. Yet, on the other hand, Babin now defends
   his decision to drop the initial indictment because, as he explains, “when
   faced with a constitutional flaw in a charging document, prosecutors are
   supposed to drop the charges.” We respect Babin’s explanation and his appeal
   to the constitutional oath that we all must take, but it is difficult for us to
   understand it without reference to Lowry. If Lowry did not influence his
   decision, precisely what new “constitutional flaw” Babin saw in the first
   indictment after Lowry was decided is unclear from the record. In his
   deposition, Babin merely explained that he “became aware of . . . some case

          31
             Cf. Nobby Lobby, 970 F.2d at 88 (noting the defendants’ responsive timing as
   probative of bad faith).
          32
              See Harm v. Lake-Harm, 16 F.4th 450, 455 (5th Cir. 2021) (“Where there are
   two permissible views of the evidence, the factfinder’s choice between them cannot be
   clearly erroneous.” (quoting Anderson, 470 U.S. at 574)).




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   law” that was cited in Netflix’s habeas petition. Which cases those were he
   did not remember. We also cannot help but see the same tension in Babin’s
   post-lawsuit policy of not prosecuting anyone under § 43.262 until “the
   Lowry decision has been . . . abrogated.” Lowry played no role in his decision
   to drop the initial indictment, Babin submits, yet he subsequently adopted a
   policy precluding any prosecution under § 43.262 until Lowry was abrogated.
           These inconsistencies, which the district court noted in its order, and
   which we can glean from the record, warrant our skepticism in other respects.
   As we have noted a few times already, Babin multiplied the first indictment
   into four new ones after Netflix filed its habeas petition. The multiplicity of
   prosecutions is a hallmark of bad faith under Younger,33 especially when those
   charges are brought under a more severe criminal statute—a practice we have
   called “upping the ante.”34 We also cannot ignore the way in which Babin
   secured all five indictments against Netflix. Rather than show the entire film
   to either of the empaneled grand juries, Babin showed only curated clips and
   images of the most provocative scenes. We in no way suggest, contra United
   States v. Williams, that prosecutors are constitutionally obliged to show
   “substantial exculpatory evidence” to the grand jury.35 But considering all
   the other allegations against him, Babin’s refusal to show the grand jury the


           33
              See Younger, 401 U.S. at 49; Nobby Lobby, 970 F.2d at 87–88; Wilson, 593 F.2d at
   1381. We note that the record reflects some equivocation as to whether Babin intended to
   try the four indictments separately or at the same time. In his deposition, Babin insisted
   that he never made any definitive decision on that score, but some of his other statements
   could be construed as suggestions that he would indeed try them separately. For example,
   when asked why he decided to have four indictments rather than one four-count
   indictment, he said that multiple-count indictments that were tried “all together” were
   easier to reverse on appeal, so he opted for four indictments instead.
           34
              Miracle v. Estelle, 592 F.2d 1269, 1276–77 (5th Cir. 1979) (citing Blackledge v.
   Perry, 417 U.S. 21, 27–28 (1974)).
           35
                504 U.S. 36, 51–55 (1992).




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   entire film (a mere 96 minutes) gives us reason to question the
   evenhandedness of his prosecutorial tactics.
          Many of Babin’s counterarguments to these various charges of bad
   faith are, in some way or another, tied to his prosecutorial discretion. By way
   of example, Babin reminds us that his discretion gives him leeway to multiply
   charges, show the grand jury only inculpatory evidence, and seek more severe
   penalties under a different statute. We have no trouble accepting any of these
   arguments, at least in the abstract. But Babin’s repeated appeals to
   prosecutorial discretion really only serve to invite the question rather than
   answer it. Like any other public official, prosecutors can exercise their
   discretion in good faith or bad. So to say that a particular decision was merely
   an exercise of discretion does not bring us any closer to resolving the issue,
   at least in Babin’s favor.
          But what does bring us closer (and not in Babin’s favor) is the evidence
   regarding what the parties refer to as the “Jane Doe indictment.” The Jane
   Doe indictment concerned the one nude scene in Cuties (a brief flash of a
   breast) involving an actress who was over the age of eighteen at the time
   Cuties was filmed—a fact the district court confirmed after discovery in the
   proceedings below. Most tellingly, during his meeting with Netflix after filing
   the original indictment, Babin expressed no interest in seeing proof that the
   actress was of age. He instead told Netflix that the “gravamen” of the
   indictment was the “suggestive way in which the younger, clothed girls (the
   Cuties) danced.” Nevertheless, Babin sought and obtained an indictment
   against Netflix for the Jane Doe scene more than 400 days later.
          What changed Babin’s mind in those 400-plus days with respect to
   Jane Doe is, at best, unclear. Babin’s only explanation for this about-face, as
   he phrased it during the evidentiary hearing, was rather terse and
   unilluminating: “Visual inspection of the image.” The context surrounding




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   that statement is equally unsatisfying. Babin merely emphasized that he had
   “absolutely no burden whatsoever” to show that Jane Doe was under
   eighteen and that he is entitled under the statute to simply look at the image
   to determine probable cause. In other words, despite identifying no new facts
   or evidence during the lengthy period between the indictments, despite
   previously declining an offer of proof from Netflix that the actress was over
   the age of eighteen, despite assuring Netflix that the original indictment
   concerned only the “younger, clothed girls,” and despite having watched the
   film already, Babin changed his mind and charged Netflix for the Jane Doe
   scene in a standalone felony indictment for child pornography for one reason:
   looking at the scene (again). That the district court concluded Babin had no
   real hope of obtaining a valid conviction for that scene is, therefore, not
   altogether surprising.
          The picture only becomes bleaker for Babin if we step back and
   consider the Jane Doe indictment (and the others) in the larger legal context.
   It is still the case that Babin remains the only prosecutor in the country to
   have charged Netflix for child pornography based on its promotion and
   streaming of Cuties.36 Granted, community standards will inevitably differ on
   whether a particular work depicts “sexual conduct,”37 and the standards in
   Babin’s community may well be more conservative in this respect—a
   potential reality that we in no way suggest is misguided or puerile. But
   Babin’s lone prosecution is a hard reality to ignore, if not especially because
   Netflix is, by all appearances, a mainstream platform with roughly a quarter-




          36
             Babin has not contested this observation made by both Netflix and the district
   court, and we assume he would apprise us of any developments that might affect its
   accuracy.
          37
               Miller v. California, 413 U.S. 15, 24 (1973).




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   billion global subscribers.38 In other words, if Babin is indeed correct that the
   Jane Doe scene (or any other scene, for that matter) constituted “sexual
   performance by a child,”39 that means Netflix streamed child pornography
   across the nation to millions of viewers, only to face a fractured set of
   indictments from a single prosecutor in Tyler County. That is theoretically
   possible, of course, but this anomaly, charitably speaking, only reinforces our
   view that Babin had no hope of obtaining a valid conviction for the content
   alleged in the Jane Doe indictment.40
           Babin, for his part, defends his decision to indict Netflix for the Jane
   Doe scene by pointing out that he was not “on notice” of Jane Doe’s age
   until after this federal litigation began. And there was nothing unusual about
   refusing to see proof of Jane Doe’s age, Babin continues, because her scene
   “was not at issue in the original indictment.” On this point, Babin is mostly
   right. He never had definitive proof that Jane Doe was of age when he
   indicted Netflix a second time (or the third, fourth, and fifth times), and we
   can take him at his word when he says that he refused to see such proof
   because she was not part of the original indictment. We fail to see, however,


           38
              Cf. United States v. Williams, 553 U.S. 285, 301 (2008) (“We think it implausible
   that a reputable distributor of Hollywood movies, such as Amazon.com, believes that one
   of these films contains actual children engaging in actual or simulated sex on camera; and
   even more implausible that Amazon.com would intend to make its customers believe such
   a thing.”).
           39
                TEX. PENAL CODE § 43.25.
           40
              Cf. Shaw v. Garrison, 467 F.2d 113, 116 (5th Cir. 1972) (noting the tenuous
   connection between the alleged crime and the location of the prosecution). To be clear, we
   do not suggest that an inference of bad faith should necessarily be drawn from the fact that
   a prosecution might be unpopular or based on a legal view that is not widely shared. We
   note the isolated nature of Babin’s prosecution merely as yet another reference point in our
   bad-faith analysis. The Foundation for Individual Rights and Expression, as amicus curiae,
   makes the good and related point that even though Younger’s bad-faith exception is narrow,
   the kinds of facts that can prove bad faith can be wide-ranging.




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   why any of that matters. Like the district court, we cannot discern any
   coherent explanation for why Babin had an epiphany about the illegality of
   the Jane Doe scene more than a year after watching the film. If better reasons
   support his decision—or any non-conclusory reason at all—he has not
   pointed us to them. Our independent review of the record has likewise
   yielded no satisfying answer.
           We also note that, whatever precipitated the Jane Doe indictment,
   Babin does not attempt to defend that indictment on the merits—presumably
   because, as far as we can tell, there are none. So whether we measure the
   likelihood of Babin obtaining a valid conviction against Netflix from the time
   at which he filed the original indictment, the time at which he filed the four
   new ones, or at any point during the federal proceedings below, there was
   never any remote chance of Babin obtaining a valid child-pornography
   conviction against Netflix for a scene involving an adult.41 And that is true
   whether we judge Babin’s actions under the criminal statute he invoked for
   the first indictment (§ 43.262) or the one he invoked for next four
   indictments (§ 43.25(d)). Either way, the law was “clearly inapplicable.”42
   The questionable factual underpinnings of the indictment, as we have already
   outlined above, persuade us that Babin likely knew that from the beginning
   and proceeded with the indictments anyway.43



           41
            See Ashcroft v. Free Speech Coal., 535 U.S. 234, 254 (2002) (clarifying that child
   pornography must contain actual children to be criminalized).
           42
              Universal Amusement Co., Inc. v. Vance, 559 F.2d 1286, 1295–96 (5th Cir. 1977),
   aff’d, 445 U.S. 308 (1980); Nobby Lobby, 970 F.2d at 87.
           43
              Cf. Nobby Lobby, 970 F.2d at 88 (holding that state officials who seized evidence
   with knowledge that their seizures were unlawful “raise[d] a strong inference of bad
   faith”). Relevant here, Babin argues in his briefing that Nobby Lobby stands for the
   proposition that bad faith is present when the “state officials’ actions purport to enforce
   criminal law but reflect no interest in the outcome.” We take no position on whether that is




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           All of this, to be sure, is not to suggest that Babin’s arguments have no
   force and that neither we nor the district court can be moved from the
   conclusions reached in this preliminary posture. Taken one by one, Babin’s
   arguments are well taken. But we agree with the statement of counsel for
   Netflix made at oral argument that this case looks like a “mosaic” of bad
   faith, largely pieced together with credibility determinations that only the
   district court was able to make. However persuasive we might find Babin’s
   arguments individually, we cannot help but step back and conclude that the
   whole picture does not resemble what we would otherwise presume to be a
   good-faith prosecution. Thus, finding no clear error in the district court’s
   findings, we do not disturb them.
                                                  B
           Before moving to whether Netflix has met the traditional
   requirements for preliminary injunctive relief, we must first consider a
   cluster of issues that Babin raises concerning the causal element in this case.
   Babin specifically contends: (1) the district court did not apply the correct
   causation standard; (2) his indictments did not “actually chill” Netflix’s
   speech; and (3) the grand juries served as independent intermediaries that
   broke the chain of causation between his alleged animus and Netflix’s injury.
   We address each of these issues in turn.
           First, we find no merit to Babin’s contention that the district court
   failed to apply the correct causation standard in its retaliation analysis. While
   he cites Fifth Circuit precedent rightly applying the “major motivating
   factor” test,44 that same precedent also rejected a heightened standard of
   causation at the preliminary-injunction stage of proceedings. “The standard

   an accurate description of our precedent but note it only to say that Babin’s actions do not
   fare well even under his own understanding of the law.
           44
                Smith v. Hightower, 693 F.2d 359, 367 (5th Cir. 1982).




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   to show likely success on the merits,” we have said, “is obviously lower than
   that for establishing actual success on the merits during the hearing for a
   permanent injunction.”45 Thus, because we are evaluating only whether
   Netflix is likely to succeed on the merits, our standard is more lax: Netflix
   need only show that Babin’s retaliation was motivated “at least in part” by
   Netflix’s decision to file a habeas petition.46 The district court applied that
   standard and found that it was met here.47
           Second, Babin contends that Netflix cannot succeed on its retaliation
   claim because it has not shown that its speech was actually chilled.48 Indeed,
   he says, Netflix continues to stream and promote Cuties to this day despite
   his prosecution. Netflix does not dispute the factual point, and we take no
   issue with Babin’s understanding of what our precedent requires. The
   problem is that Babin cites cases concerning First Amendment retaliation
   claims, and we are dealing with retaliation only in the Younger-abstention


           45
                Id. at 367 n.19.
           46
              At least one other circuit shares this understanding. See Phelps v. Hamilton, 59
   F.3d 1058, 1067 n.17 (10th Cir. 1995) (“We recognize that some courts have adopted the
   less exacting “at least in part” test for preliminary injunctions, while maintaining a higher
   standard for permanent injunctions.” (citing Smith, 693 F.2d at 367 n.19)).
           47
              Id. (citing Wilson, 593 F.2d at 1387). We briefly note that Babin argues that he
   could not have retaliated against Netflix for the exercise of its constitutional rights because
   there is no constitutional right to petition for a writ of habeas corpus in state court. Netflix
   asserts that this argument is waived (or forfeited), and Babin does not contest that
   assertion. Whatever the status of this argument before this court, we find it unavailing.
   Netflix asserted its free-speech rights in its habeas petition, and filing a civil lawsuit to
   vindicate civil rights is undoubtedly constitutionally protected conduct. Wilson, 593 F.2d
   at 1378. A collection of First Amendment scholars and clinics make a similar point in their
   amicus brief, arguing that Netflix’s habeas petition implicates its right to petition courts for
   redress of wrongs. See Sure-Tan, Inc. v. NLRB, 467 U.S. 883, 896 (1984).
           48
            See Keenan v. Tejada, 290 F.3d 252, 259 (5th Cir. 2002) (requiring “some
   showing that the plaintiffs’ exercise of free speech has been curtailed” in a First
   Amendment retaliation claim).




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   context.49 Actual chill is required for the former but not the latter. As we held
   in Wilson, the presumption underlying Younger “does not obtain when the
   prosecution itself effects the constitutional violation.”50 And so the
   prosecution has here. Netflix need not establish an additional constitutional
   violation, like the chill of free speech, separate and apart from the very
   constitutional violation that warrants the exercise of our jurisdiction.51
           Third, and finally, we must address an issue that so often arises in
   retaliatory cases: whether an independent intermediary broke the chain of
   causation that would otherwise connect the defendant’s animus to the
   plaintiff’s injury.52 Babin’s position here is that, even if the allegations of bad
   faith were true, two grand juries still found probable cause to indict Netflix
   for child pornography based on its showing of Cuties. Therefore, Babin
   argues, Netflix cannot show that he proceeded “without hope of obtaining a



           49
              Netflix additionally argues that Count IV of its complaint—a claim for First
   Amendment retaliation—was not the basis of the district court’s injunction. Counsel for
   Netflix also clarified this point during oral argument, stating that the injunction was based
   on Count III, a direct First Amendment claim. While the district court vaguely mentioned
   a “chilling effect” in its order, we do not understand Babin to argue that the district court’s
   injunction rested on First Amendment retaliation—an absence that is also consistent with
   Netflix’s assertion that Babin waived the issue of actual chill.
           50
             Wilson, 593 F.2d at 1382–83 (citing Sheridan v. Garrison, 415 F.2d 699, 706 (5th
   Cir. 1969)); see Fiss, supra note 20, at 1114 (“[T]he harm lay in the fact of a bad-faith
   prosecution rather than its outcome . . . .”).
           51
              See Wilson, 593 F.2d at 1382 (“With respect to the criminal defendant, he is
   seeking to protect his federal ‘right not to be subjected to a bad faith prosecution or a
   prosecution brought for purposes of harassment, a right that cannot be vindicated by
   undergoing the prosecution.’” (quoting Shaw v. Garrison, 467 F.2d 113, 122 n.11 (5th Cir.
   1972) (alterations omitted)); see also infra note 67.
           52
             See, e.g., Jennings v. Patton, 644 F.3d 297, 300–01 (5th Cir. 2011) (“[I]f facts
   supporting an arrest are placed before an independent intermediary such as a magistrate or
   grand jury, the intermediary’s decision breaks the chain of causation for the Fourth
   Amendment violation.” (internal quotation marks and citation omitted)).




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   conviction”53 as a matter of law. This argument has some force, particularly
   considering that not one but two grand juries agreed with Babin and found
   probable cause to indict Netflix. Our deep respect for the courts of Texas
   extends to the citizens of that state who nobly carry out their entrusted civic
   duties. That said, we are not convinced that the independent-intermediary
   doctrine applies here for at least two reasons.
           The first concerns precedent. In the very case establishing the bad-
   faith exception to Younger, the Supreme Court concluded that a federal
   injunction was warranted for a state prosecution even when criminal
   indictments had been obtained.54 The fact of the indictments’ existence did
   not appear to affect the Court’s holding that the plaintiffs had plausibly made
   a claim of bad faith.55 Granted, the Court’s record on bad-faith prosecutions
   is rather sparse,56 and the risk of reading too much from a rather procedurally
   complicated case like Dombrowski is real. But as “middle-management circuit




           53
                Perez, 401 U.S. at 85.
           54
             See Dombrowski, 380 U.S. at 491 (observing that “abstention serves no legitimate
   purpose where . . . the conduct charged in the indictments is not within the reach of an
   acceptable limiting construction”). The Court in Dombrowski made an additional point
   about the peculiar timing of the indictments for purposes of determining the applicability
   of 28 U.S.C. § 2283, id. at 484 n.2, but we see no reason why that would change the
   inference we are making.
           55
             See id. at 490 (noting that the plaintiffs had “attacked the good faith” of the
   defendants and that these allegations stated a claim under § 1983); Fiss, supra note 20, at
   1112 (commenting that the Court in Dombrowski ordered the district court to conduct “an
   evidentiary hearing on the bad-faith harassment issue”).
           56
             That certiorari has rarely been granted for bad-faith prosecutions under Younger
   is perhaps unsurprising given the rarity of such allegations in the federal courts generally.
   See C. Keith Wingate, The Bad Faith–Harassment Exception to the Younger Doctrine:
   Exploring the Empty Universe, 5 Rev. of Litig. 123, 124 (1996) (noting the “virtually
   empty universe” of bad-faith claims); Fiss, supra note 20, at 1115 (same).




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   judges,”57 we are not prepared to deviate from what we can reasonably glean
   from the U.S. Reports. Additionally, on a more practical level, we think
   holding otherwise would virtually vitiate the bad-faith exception—at least as
   applied to prosecutors, who must always seek a determination of probable
   cause from an independent intermediary, whether it be from a grand jury or
   magistrate. In our view, a holding of that import would be improper while
   Dombrowski remains good law.58
           The second concerns Babin’s presentation of the evidence. Even if we
   were to assume, for argument’s sake, that the independent-intermediary
   doctrine applied to bad-faith prosecutions under Younger, Babin likely cannot
   invoke it in this case. That is because we have recognized, in limited
   circumstances, that the doctrine does not apply when state officials
   “withhold any relevant information from the” grand jury.59 As the district
   court found, Babin did not show the entire film to either of the grand juries.
   He instead showed only clips and images of the most provocative scenes.
   Consideration of context is critical when it comes to the exercise of free
   speech, especially when, as here, its exercise has criminal consequences.60 So


           57
              Whole Woman’s Health v. Paxton, 978 F.3d 896, 920 (2020) (Willett, J.,
   dissenting).
           58
             The district court expressed the same doubt, observing that “it is not clear that
   the independent intermediary doctrine even applies to prosecutors seeking indictments
   from grand juries.”
           59
              Winfrey v. Rogers, 901 F.3d 483, 497 (5th Cir. 2018) (citing Cuadra v. Hous. Indep.
   Sch. Dist., 626 F.3d 808, 813 (5th Cir. 2010)).
           60
               This is not to suggest that context can necessarily redeem true child
   pornography. See New York v. Ferber, 458 U.S. 747, 761 (1982). But the statute under which
   Babin initially indicted Netflix, § 43.262, requires consideration of “literary, artistic,
   political, and scientific value.” Tex. Penal Code § 43.262(b)(3). And deliberately
   choosing to show only the most explicit scenes of a mainstream film, without any indication
   that showing the entire film is burdensome in some way, gives us further reason to question
   the means by which the indictments were obtained.




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   in light of Babin’s candid admissions that he did not show the grand juries
   the entire length of the film (or even the more immediate context of the few
   scenes he showed), we agree with the district court that the two indictments
   he obtained likely cannot insulate his actions.
                                                  IV
           We must now determine whether the district court, having correctly
   decided not to abstain under Younger, nevertheless abused its discretion by
   preliminarily enjoining Babin from prosecuting Netflix. “A plaintiff seeking
   a preliminary injunction must establish that he is likely to succeed on the
   merits, that he is likely to suffer irreparable harm in the absence of
   preliminary relief, that the balance of equites tips in his favor, and that an
   injunction is in the public interest.”61 Much of our discussion thus far has
   touched indirectly on these equitable considerations, so for many of the same
   reasons, along with the ones that follow, we agree with the district court that
   Netflix is entitled to preliminary injunctive relief.
           We begin with arguably the most important factor: likelihood of
   success on the merits.62 Compared to its discussion of Younger abstention,
   the district court undertook a relatively extensive merits discussion of
   Netflix’s First Amendment claims, accounting for various factors that state
   and federal courts have used to determine the existence of child
   pornography.63 We appreciate and applaud the district court’s thoroughness,


           61
                Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).
           62
              See Mock v. Garland, 75 F.4th 563, 587 n.60 (5th Cir. 2023) (“There is authority
   that the first factor—likelihood of success on the merits—is the most important of the
   preliminary injunction factors.”); see also Baude & Bray, supra note 12, at 174 n.131 (“[T]he
   preliminary injunction inquiry is now heavily dominated by the merits . . . .”).
           63
             See, e.g., State v. Bolles, 541 S.W.3d 128, 143–44 (Tex. Crim. App. 2017)
   (employing the six factors as stated in United States v. Dost, 636 F. Supp. 828, 832 (S.D.
   Cal. 1986)). At least one member of this court, moreover, has joined other courts in




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   but we find that no similar treatment is warranted here. The parties dedicate
   only a few pages of their briefing to this factor, and that may be based on their
   understanding of Wilson v. Thompson, in which we held that a showing of
   Younger’s bad-faith exception was tantamount to a showing of likelihood of
   success on the merits.64 So, suffice it to say, because we have already
   determined that Babin had no hope of obtaining a valid conviction and that
   his independent-intermediary defense is unlikely to succeed, Netflix has in
   turn shown likelihood of success on the merits.65
           We can likewise address the remaining preliminary-injunction factors
   in short order. Netflix has shown at this stage that it has been subjected to a
   bad-faith prosecution, an injury we have already deemed “irreparable.”66
   Netflix need not establish any further constitutional injury, like the chill of its
   speech.67 The balance of equities also favors Netflix. It has an obvious interest

   expressing dissatisfaction with the Dost factors. United States v. Steen, 634 F.3d 822, 828–
   30 (5th Cir. 2011) (Higginbotham, J., concurring); see also id. at n.1 (collecting cases).
           64
               See 593 F.2d at 1384–85 (“In order to show a likelihood of prevailing on the
   merits, the plaintiff must show the likely applicability of the Younger bad faith exception
   and, what amounts to the same thing in the circumstances of this case, the likely existence
   of a constitutional violation causally related to the result sought to be enjoined.”); see also
   id. at n.17 (“Where the allegation is that the state proceedings . . . were instituted in
   retaliation for or to deter the exercise of constitutionally protected rights, the question of
   the applicability of the Younger exception and that of the existence of a constitutional
   violation merge: to prove one is to prove the other.”).
           65
               Babin recognizes that, under Wilson, the merits inquiry for preliminary injunctive
   relief collapses into the bad-faith inquiry. But he argues that even if that were incorrect,
   Netflix loses on this factor because (1) two counts in its complaint are moot and (2) Netflix
   wrongly argues that § 43.25 was facially unconstitutional. We have already rejected Babin’s
   mootness argument, and his second argument mistakes Netflix’s as-applied challenge for a
   facial challenge. See supra note 4.
           66
                Fitzgerald v. Peek, 636 F.2d 943, 944 (5th Cir. 1981) (per curiam).
           67
              See id. (“A showing of bad faith or harassment is equivalent to a showing of
   irreparable injury under Younger, and irreparable injury independent of the bad faith
   prosecution need not be established.”).




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   in the continued exercise of its First Amendment rights, and the State has no
   legitimate interest in a bad-faith prosecution.68 Our precedent similarly
   establishes that injunctions protecting First Amendment rights “are always
   in the public interest.”69 Netflix has therefore shown that it is entitled to
   preliminary injunctive relief.
                                                 V
           We end with what we expressed at the beginning. We do not take
   accusations of prosecutorial bad faith or harassment lightly. Nor, absent
   extraordinary circumstances, are we inclined to exercise our jurisdiction in a
   way that interferes with ongoing state-court proceedings. But the injunction
   is preliminary, our review is deferential, and existing Supreme Court
   precedent has calibrated the principles of equity and federalism in a way that
   authorized the district court’s intervention. For these reasons, the judgment
   below must be AFFIRMED.




           68
                Wilson, 593 F.2d at 1383.
           69
             Opulent Life Church v. City of Holy Springs, 697 F.3d 279, 298 (5th Cir. 2012)
   (quoting Christian Legal Soc’y v. Walker, 453 F.3d 853, 859 (7th Cir. 2006)).




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